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                       IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                    )
                                             )           8:08CR151
               Plaintiff,                    )
                                             )
 vs.                                         )             ORDER
                                             )
OSCAR COLMENARES-GONZALEZ,                   )
                                             )
           Defendant.                        )

MATERIAL WITNESS
RE: REQUEST FOR APPOINTMENT OF COUNSEL FOR Jorge Herrera-Cortes


  The court has been presented a Financial Affidavit (CJA Form 23) signed by the above-
named individual in support of a request for appointed counsel. After a review of the Financial
Affidavit, I find that the above-named individual is eligible for appointment of counsel pursuant
to the Criminal Justice Act, 18 U.S.C. §3006A, and the Amended Criminal Justice Act Plan
for the District of Nebraska.

 IT IS ORDERED:

 IT IS ORDERED that Edith Simpson is appointed as attorney of record for the above-
named material witness.

  IT IS FURTHER ORDERED that the Federal Public Defender's Office shall forthwith provide
counsel with a draft appointment order (CJA Form 20) bearing the name and other identifying
information of the CJA Panel attorney identified in accordance with the Criminal Justice Act
Plan for this district.

 IT IS FURTHER ORDERED that counsel's appointment herein is made pursuant to 18
U.S.C. §3006A(f). At the time of the entry of judgment herein, defendant shall file a current
and complete financial statement to aid the court in determining whether any portion of
counsel's fees and expenses should be reimbursed by defendant.

 IT IS FURTHER ORDERED that the Clerk shall provide a copy of this order to the Federal
Public Defender and Ms. Simpson.

 DATED this 6th day of May, 2008.

                                            BY THE COURT:



                                            s/ F. A. Gossett
                                            United States Magistrate Judge
